









Dismissed and Memorandum Opinion filed January 13, 2005









Dismissed and Memorandum Opinion filed January 13,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00945-CR

____________

&nbsp;

JOHN LEE
JAMESON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
184th District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 976,051

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to possession of a controlled
substance, cocaine, weighing more than one gram but less than four grams.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, the trial court sentenced appellant on
September 10, 2004, to confinement for fifteen years= in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 13, 2005.

Panel consists of Justices Yates,
Edelman, and Guzman.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





